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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
JOHN MESCHINO,                       )
                                     )
                  Plaintiff,         )
                                     )
v.                                   )   Civil Action No.: 15-10327
                                     )
FRAZIER INDUSTRIAL COMPANY,          )
                                     )
                  Defendant.         )
____________________________________)

               DEFENDANT FRAZIER INDUSTRIAL COMPANY’S NOTICE
                       OF REMOVAL TO FEDERAL COURT

       Pursuant to 28 U.S.C. §§ 1332, 1441(a), and 1446, Defendant Frazier Industrial Company

(“Frazier,” or the “Company”) submits this Notice of Removal of the above-captioned action to

the United States District Court for the District of Massachusetts, from the Suffolk County

(Massachusetts) Superior Court, where the action is now pending.

       This action is being removed to federal court based upon the parties’ diversity of

citizenship under 28 U.S.C. § 1332. As grounds for removal, Frazier states as follows:

       1.      On or about January 8, 2015, Plaintiff John Meschino (“Plaintiff”) filed a

Complaint (the “Complaint”) in the Suffolk County (Massachusetts) Superior Court, entitled John

Meschino v. Frazier Industrial Company, Civil Action No. SUCV15-0067-E. A copy of the

Complaint is attached to this Notice as Exhibit A.

       2.      The Summons and Complaint were served on Frazier on January 12, 2015. A copy

of the Summons is attached to this Notice as Exhibit B. Accordingly, this Notice of Removal is
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being filed within thirty (30) days of service of the initial pleading setting forth the claim for relief,

and is therefore timely pursuant to 28 U.S.C. § 1446(b).1

        3.      This Court has diversity jurisdiction over this action, under 28 U.S.C. § 1332(a),

because the action is between citizens of different states, and because it is apparent from the face

of the Complaint that that the amount in controversy exceeds the sum of $75,000, exclusive of

interest and costs.

        4.      Specifically, Plaintiff alleges in his Complaint that he resides in Massachusetts.

See Exhibit A (Complaint) at ¶1. Frazier is a New Jersey Corporation with its principal place of

business in Long Valley, New Jersey. See id. at ¶ 2. Thus, for purposes of 28 U.S.C. § 1332(a),

Frazier is not a citizen of Massachusetts, and the Plaintiff and Defendant are diverse with respect

to their citizenship.

        5.      Further, in the Complaint, Plaintiff alleges that Frazier owes him commission

payments “of at least One Hundred Four Thousand, Three Hundred Ninety-Five Dollars and

Thirty-Four Cents ($104,395.34).” Exhibit A (Complaint) at ¶ 16.

        6.      These alleged damages exceed the jurisdictional amount of $75,000 set forth in 28

U.S.C. § 1332(a).

        7.      This action may be removed to this Court under 28 U.S.C. § 1441(a) because the

United States District Court for the District of Massachusetts encompasses the location where the

state action was filed (Suffolk County, Massachusetts).


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  The Complaint and Summons, attached hereto at Exhibits A and B, respectively – along with the Civil
Action Cover Sheet (attached hereto at Exhibit C), Order allowing Plaintiff’s Motion for Special Process
Server (attached hereto at Exhibit D) and Scheduling Order for F Track (attached hereto at Exhibit E) –
constitute all of the process, pleadings, and orders served upon Frazier in the state court action. See 28
U.S.C. § 1446(a). Since being served, Frazier has filed in the state court proceeding (1) an Assented-To
Motion for Enlargement of Time to Respond to Plaintiff’s Complaint (copy attached at Exhibit F), (2) a
Corporate Disclosure Statement (copy attached at Exhibit G), and (3) a Notice of Appearance (copy
attached at Exhibit H).


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        8.      On the same date that this Notice of Removal was signed and filed with this Court,

Frazier served, by first class mail and by electronic mail, a copy of this Notice of Removal upon

Plaintiff’s counsel of record: Pamela E. Berman, Esq. and Timothy H. Powell, Esq.; Bowditch &

Dewey, LLP; One International Place, 44th Floor; Boston, MA 02110.

        9.      Frazier promptly will file a copy of this Notice of Removal with the Clerk of the

Suffolk County (Massachusetts) Superior Court, as required by 28 U.S.C. § 1446(d).

        10.     Frazier will file with this Court attested copies of all records, proceedings, and

docket entries in the state court within twenty-eight (28) days of this Notice, pursuant to Local

Rule 81.1(a).

        WHEREFORE, Defendant Frazier Industrial Company respectfully requests that the

above-entitled action be removed to this Court for further proceedings as though originally

instituted in this Court.

                                               Respectfully submitted,

                                               FRAZIER INDUSTRIAL COMPANY

                                               By its attorneys,

                                               /s/ Patrick M. Curran, Jr.
                                               Patrick M. Curran, Jr. (BBO #659322)
                                               Nicole S. Corvini (BBO #670587)
                                               OGLETREE, DEAKINS, NASH, SMOAK &
                                                    STEWART, P.C.
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                                               Boston, MA 02110
                                               Tel (617) 994-5700
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                                               patrick.curran@ogletreedeakins.com
                                               nicole.corvini@ogletreedeakins.com
Dated: February 11, 2015




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                                       Certificate of Service

       I hereby certify that on February 11, 2015, a true copy of the foregoing document was
served upon the Plaintiff’s counsel by electronic mail and by first class mail, postage prepaid, as
follows:

               Pamela E. Berman, Esq.
               Timothy H. Powell, Esq.
               Bowditch & Dewey, LLP
               One International Place, 44th Floor
               Boston, MA 02110


                                                      /s/ Patrick M. Curran, Jr.
                                                      Patrick M. Curran, Jr.




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